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                     IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                            IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                          CfVIL DfVlSION

       CHRISTINA BRAUN,

       Plaintiff,
                                                            CASE NO.:


       WAL-MART STORES EAST, LP, a'foreign
       limited partnership,

       Defendant.
       ____________________                 ~I




                               PLAINTIFF'S FIRST REQUEST TO PRODUCE

               PURSUANT TO Rule 1.350, Florida Rules of Civil             Proced~      Plaintiff, CHRISTINA
       BRAUN, by and through her undersigned attorneys, hereby requests Defendant, WAL-MART
       STORES EAST, LP, a foreign limited partnership, produce for inspection or copying the docwnents
       set forth below. Defendant shall produce these documents at One Tampa City Center, 201 N.
       Franklin Street .,.. Floor, Tampa. Florida 33602 within forty-five (45) days after service of this
        Request to Produce.
        DEFENDANT SHALL PRODUCE THE FOLLOWING ITEMS AND MATrERS:

                1.      Any and all statements, written or recorded, made by any employees of Defendant
                        pertaining to or concerning the subject incident

                2.      Any and all incident r~rts filed pertaining to or concerning the subject incident.

                3.      Any and all statements, written or recorded, made by the Plaintiff pertaining to or
                        concerning the subject incident

                4.      Any and all statements, written or recorded, made by any witnesses pertaining to or
                        concerning the subject incident.

                5.      Any and all statements, written or recorded, pertaining to the Plaintiff.
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              6.     Any and all color photographs. drawings, sketches or diagrams of the area in which
                     the subject incident occurred.

              7.      A copy of any and all insurance policies or agreements of imy kind or nature under
                      which any person or company carrying on an insurance business may be liable to
                      satisfy part or ali of a judgment which may be entered in this action or to indemnify
                      or reimburse any payments made to satisfy any such judgment or settlement,
                      including. but not limited to, a certified copy of the declarations sheet as to each
                      such policy.

              8.      Copies ofvideotapes from surveillance cameras showing the area where the incident
                      occurred on the date ofthe fall.

              9.      Any photograph or videotape showing the Plaintiff.

              10.     Any and an genera! operations and procedural manual in use at the time of the fall.

               II.    Any and all department procedural manuals dealing in any way with spills, clean ups
                      or customer safety.

               12.    Any and all written material supplied to employees at the time of hire.

               13.    Any and all written material supplied and made available to employees during
                      training.

               14.    Copy of all videotapes supplied to or viewed by employees upon being hired or
                      during initial training.

               15.    AJI instructional audiotapes made available to employees     at   the time of hiring or
                      during initial training.

               16.    Any and all minutes of any safety meeting held during the year oCthe fall.

               I HEREBY CERTIFY that a true copy of the foregoing has heeI't'11lJlll' shed to the Defendant,
        together with the Swnmons and Complaint


                                                             R. Bryant, Esquire
                                                          gao & Morgan, P.A.
                                                         e Tampa City Center                                    ,   ,


                                                      201 N. Franklin Street, 7th Floor
                                                      Tampa, FL 33602
                                                      Tele: (813) 223-5505
                                                      Fax: (813) 223-5402
                                                      Florida Bar #: 561444
                                                      Attorney for Plaintiff(s)
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                    IN THE CIRCUIT COURT OF TIlE THlRTEENTII JUDICIAL CIRCUIT
                           IN AND FOR HILLSBOROUGH COUNTY. FLORIDA
                                         CIVIL DIVISION

       CHRlSTINA BRAUN.

       Plaintiff.
                                                        CASE NO:


       WAL-MART STORES EAST, LP, a foreign
       limited partnership.

       Defendant.
       ______________________                 ~I




                               NOTICE OF SERVING INTERROGATORIES

       TO:        WAL-MART STORES EAST, LP

                  PURSUANT TO Rule 1.340, Florida Rules of Civil Procedure, you me required to answer

       the following Interrogatories in writing and under oath within forty-five (45) days from the date of

       service.

                  1HEREBY CERTIFY that an original and one copy of the Interrogatories numbered one

       (1) through (23) have been furnished to the Defendant together with the Summons and

        Complaint.




                                                         'ph R. Bryant. Esquire
                                                       organ &. Morgan. P.A.
                                                     One Tampa City Center
                                                     201 N. Franklin Street. 7th Floor
                                                     Tampa. FL 33602
                                                     Tele; (813) 223·5505
                                                     Fax: (813) 223-5402
                                                     Florida Baril: 561444
                                                     Attorney for Plaintiff
     Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 4 of 27 PageID 6
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                                INTERROGATORIES TO DEFENDANT

        1.   Please state the names, addresses and job titles and, if an officer of a corporation,
             identify such office of positiori of all persons participating in the answering of these
             interrogatories.




        2.   Were You aware, prior to the filing of the Complaint in this action that the Plaintiff,
             CHRISTINA BRAUN, was injured while in the health and beauty aisle of Wal-Mart
             located 1208 E. Highway 60, Brandon, FJorida on December 14, 20091 If so, state
             when and by whom the occurrence described in the Complaint was made known to
             you and whether said notice was written or oral, and if written, the name and address
             of the person who now has custody ofsaid written notice.




        3.   Please state the names, addresses and job titles of any and all persons who were
             responsible for the maintenance andlor inspection of the subject area on the date of
             the alleged occurrence, including outside contractors. Also, please state name,
             address and telephone number of manager and assistant manager at the time of the
             incident




        4.   State the name, address and job title of all employees on duty at the time of the
             alleged OCCl.llTCI1ce and give their location at the time of the events set forth in the
             Complaint.




        5.   Plaintiff, CHRlSTINA BRAUN aUeges that the presence of a wet substance on the
             floor of the health and beauty aisle caused her to fall and sustain injuries. Do you
             contend that the presence of such wet substance did not cause Plaintiff to fall and
             sustain injuries? If so, state the reasons for said belief and what you contend did
             cause Plaintiff's injuries.
                                                                                                             ,:,


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       6.      Were you or any of your employees aW8CC of the presence of the wet substance on          l'


               the floor of the health and beauty aisle prior to the accident? If so, state the name,
               address and job title of each individual who was aware of the presence of the wet
               substance on the floor of the health and beauty aisle the circumstances under which
                                                                   t


               such notice was received, the name or other means of identification of each person
               who so informed said individual(s). and a description of any action which was taken
               as a result ofsuch notice.




        7.     State the reason and the length of time that the wet substance existed at the scene of
               the accident.




                                                                                                        .i

        8.     Of what type material was the floor surface made at the scene of the accident?




        9.     Was there a rug, mat or other fonn of floor covering on the floor at the time of the
               accident? If so, describe such floor covering, giving details as to size, color and
               manner by which it was fastened to the floor.                                             :: :




        10.    Was there a crack, hole or other defect in the floor or floor covering at the time of
               the accident? Ifso, describe each such defect




         11.    By what means was the scene of the accident lighted at the time Plaintiff was
                injured?
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       12.    If any lighting was by artificial means, state the type of lights used, the number of
              lights, the wattage of each light, and the distance of each light from the scene of the
              accident




       )3.    Did you or any employee RCCive any complaint. WlU'Ding or other notice concerning
              a dangerous or defective condition on the premises prior to the accident? If so, state
              the date and time RCCived, and substance ofsaid notice, the name or other means of
              identification and address of the person by whom it was given. the nature and
              location of the danger or defect to which it related and what actions, if any, were
              taken as a result ofit




        14.   Has any other accident occurred on yoW' premises in the same area as or in 8 similar
              manner to, the accident in which Plaintiff herein was injured? If so, state the date
              and time it occurred, a description of how it occurred, the name or other means of
              identification and address of the person to whom it occurred., the location in which it
              0CCUJTed and what, ifany, safety precautions were taken as a result of it.




        15.   Was an investigation made by you or in your behalf as a result ofthe incident cited
              in the Complaint filed by Plaintiff? If so, state the date it was made, the name,
              address and occupation of each person who made it and whether any report was
              made of it.
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        16.   Were any statements obtained by you or in your behalf from any person concerning
              the accident? If so, stale the date and time it was obtained, the name, address and
              occupation of the person who made it and whether it was written or oral and if
              written. the name and address of the person who has custody of it.




        17.   Did any person witness the accident? If so, state the name or other means of
              identification, address, occupation and name of witness and the location from which
              (s)he witnessed the accident




        18.   Do you know of anyone who took or claims to have taken any photographs oC the
              scene of the accident, the persons or objects involved? Ifso, state the subject matter
              of such photographs. the date each was taken, the identity and address of the person
              or persons taking such photographs and the name and address of each person who
              has possession or control of sucb pbotographs.




        19.   Are you protected by any insurance company indemnifying you against the type of
              risk on which Plaintiffs claim is based? If so, state the name and address of each
              insurer, the number of each policy and the type of coverage.



        20.   Did you have an agent or employee whose duties included the cleaning,
              maintenance or care of the subject area? If so, please state the name, address and job
              title of said individual, a description of his duties and the date and time said duties
              were last perfonned in the subject area before the accident.




                                                                                                        ;,
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         21.   Please identify by name or description all written documents that are given to new
               employees at the time they are hired or during initial training sessions.




         22.   Please identify all videotapes,·films or audio tapes that new employees view or listen to at
               the time of their initial hiring and training.




         23.   Are safety meeting held regularly at the store? If so, please identify by name, address and
               telephone number of the person in charge of preparing and conducting these safety
               meetings.




                                                                                                              ,   :
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        STATEOF _ _ _ _ _ __

        COUNTYOF ________

               I HEREBY CERTIFY that the foregoing Interrogatories to Defendant were
        acknowledged before me this __ day of_ _ _ _ _-', 2011, by _ _ _ _ _ _ __
        _ _ _ _-'. who bas produced                               as identification or who is
        personally known to me and who did/did not take and oath.



                                                     Notary Public
                                                     Name:_ _ _ _ _ _ _ _ _ _ __
                                                          (printed or typed)                    I   ,




                                                     My commission expires:
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               IN TIlE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                       IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                     CIVIL DIVISION

  CHRlSTINA BRAUN,

  Plaintiff,
                                           .;      .; 'CASENO.:
  -vs-

  WAL-MART STORES EAST. LP, a foreign
  limited partnership,

 , Defendant

  ____________~~----~I
                            PLAINTIFF'S REQUEST FOR ADIMISSIONS

  TO:     WAL-MART STORES EAST, LP
          PURSUANT TO Rule 1.370" F19rida Rules of Civil Procedure, Plaintiff, CHRISTINA
  B~UN,        by and through her undersigned attorneys, hereby requests Defenm:nt, WAL-MART
  STORES EAST, LP, a foreign limited partnership, admit or deny the following within forty-five

  (45) day..s after the date of service hereof.

          1.      That wet substance existed on the floor of the health and beauty aisle ill the Wal­
                  Mart located at 1208 E. Highway 60 on the date of the incident.

          2.      nmt 'the Pl~ti.ff,   CHRISTINA BRA~, reported the existence of the wet
                  substance on the floor of the health and beauty aisle in Wal-Mart located at 1208 E.
                  Hlghway 60 to an agent, servant or employee ofWal-Mart.

          3,      That a written policy of inspection exists within Wal-Mart.

          4       ' That a verbal policy of inspection exists within Wal-Mart.

          5.      That Plaintiff's medical bill from Brandon Regional Medical Center for date of
                  service of December 14, 2009 in the amount of $2,043.50 was reasonable, necessary
                  and related to  the
                                    incident

          6.      Plainti.:frs medical bills were r~onable, necessary and related to the accident
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                              SUPPLEMENTAL INTERROGATORY
                                         .
        7.     If any above Request for Admissions have been denied please explain the facts or
               reasons "for said denial.




        SWORN TO and subscribed before me this _"_ day of _ _ _ _ _,. 2011.


                                               " Notary Public
                                                   My commission ex:pires:_ _ _ _ _ __

         I HEREBY CERTIFY that a true and correct copy of the forgoing has been furnished to
  the Defendant, together with the Summons and Complaint




                                                 ph R. Bryant, Esquire
                                               organ & Morgan, P.A.
                                             One Tampa City Center
                                             201 N. Franklin Street, 7th Floor
                                             Tampa, FL 33602
                                             Tele: (813) 223-5505
                                             Fax: (813) 223-5402
                                             Florida Bar #:" 561444
                                             Attorney for Plaintiff(s)
',.   Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 12 of 27 PageID 14




                 IN TIlE CIRCUIT COURT FOR THE THIRTEENTH JUDICIAL CIRCUIT
                          IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                    CIRCUIT CIVIL DIVISION

        CHRISTINA BRAUN,

               P1aintiff,

        VS.                                                       CASE NO.: ] 1·007520

        W AL-MART STORES EAST, LP

               Defendant.
        --------------------~/
                                       NOTICE OF APPEARANCE

               YOU WILL PLEASE ENTER the name of the undersigned as attorney of record for

        Defendant, WAL-MART STORES EAST, LP.             The undersigned respectfully requests that all

        future pleadings and correspondence be directed to the undersigned as counsel for Defendant.


                                      CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true copy of the foregoing has been furnished via facsimile

        and regular U.S. Mail to Joseph Bryant, Esq., 201 N Franklin Street, Seventh Floor, Tampa, FL

        33602 on June 30, 20 II.




                                                    ~fw
                                                    Florida Bar No.: 0569097
                                                    SeJen N. DemirpoJat, Esquire
                                                    Florida Bar No. 0043681
                                                    Beytin. Bolin, McLaughlin & Willers, P.A.•
                                                    Post Office Box 1772
                                                    Tampa, F10rida 33601-1772
                                                    Telephone: (813) 226·3000
                                                    Facsimile: (813) 226-3001                             II
                                                    Counsel for Defendant, WaJ-Mart                       f
                                                                                                          r
                                                                                                          I


                                                                                                          1
                                                                                                          i
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             IN THE CIRCUIT COURT FOR THE THIRTEENTH JUDICIAL CIRCUIT
                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                               CIRCUIT CIVIL DIVISION

 CHRISTINA BRAUN,

        Plaintiff,

 VS.                                                         CASE NO.: 11-007520

 WAL-MART STORES EAST, LP

      Defendant.
 ____________________~I

        ANSWER AND AFFIRMATIVE DEFENSES TO AMENDED COMPLAINT

        Defendant, WAL-MART STORES EAST, LP, by and through its undersigned counsel,

 hereby answers Plaintiffs Amended Complaint as follows:

        1.      Without knowledge therefore denied. To the extent the amoWlt in controversy is

 greater than $75,000.00, proper jwisdiction and venue for this matter lies in the United States

 District Court for the Middle District ofFlorid.a, Tampa Division.

        2.      Without knowledge therefore denied.

        3.      Admit that Wal-Mart was doing business in Hillsborough COWlty, however Wal-

 Mart is a foreign corporation and to the extent that the amount in controversy is greater than

 $75,000.00, proper jwisdiction and venue for this matter lies in the United States District Court

 for the Middle District of Florida, Tampa Division.

        4.      Admit that Wal-Mart was doing business in Hillsborough COWlty, however Wal-

 Mart is a foreign corporation and to the extent that the amount in controversy is greater than

 $75,000.00, proper jurisdiction and venue for this matter lies in the United States District Court

 for the Middle District of Florida, Tampa Division.

        5.       Without knowledge therefore denied.
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        6.     Paragraph 6 is an incomplete and inaccurate statement of Florida law and is

 therefore denied. Defendant admits to any and all duties imposed upon it under Florida law.

        7.     Denied.

        8.     Denied.

               a. Denied.

               b. Denied.

               c. Denied.

               d. Denied.

        9.     Denied.

        10.    Denied.

                                   MOTION TO DISMISS

        DEFENDANT WAL-MART, by and through its undersigned attorney, pursuant to Rule

 1.140 Florida Rules of Civil Procedure, hereby moves this Honorable Court for the entry of an

 Order dismissing any and all allegations of a "negligent mode of operation" contained within

 Plaintiff's Amended Complaint and in support thereof states:

        1.     Plaintiff purports to bring a cause of action for "Negligent Mode of Operation" in

 Paragraph 7 of her Amended Complaint against Defendant Wal-Mart.

        2.     When ruling on a Motion to Dismiss for failure to state a cause of action, the trial

 court must accept the material al1egations as true and is bound to a consideration of the

 alJegations found within the four comers of the Complaint. Murphy v. Bay Colony Property

 Owner's Association, 12 So.3d 924 (Fla. 2d DCA 2009).

        3.     The basis for the negligent mode of operation theory, regarding premises that are

 not in a safe condition, is the claim that the specific mode of operation selected by the premises
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 owner or operator resulted in the creation of a dangerous or unsafe condition. See Markowitz v.

 Helen Homes ofKendall Corp., 826 So. 2d 256 (Fla. 2002). The dispositive issue is whether the

 specific method of operation was negligent and whether the accident occurred as a result of that

 negligence. See Owens v. Publix Supermarkets. Inc.. 802 So. 2d 315 (Fla. 2001).

        4.      Plaintiff fails to allege any facts that support a theory of Negligent Mode of

 Operation against the Defendant. Instead, the Plaintiff erroneously states that the very existence

 of the al1egedly dangerous substance creates a "negligent mode or method" of operation. See

 Plaintiff's Complaint   1 ]4.   No where in Plaintiffs Complaint does she articulate any business

 practice or method employed by Wal-Mart that would amount to more than a claim for

 negligence. See id at 332.

        5.      In cases that have alleged such a cause of action, it has been found that the alleged

 specific mode or method of operation in question must go beyond the actual allegedly dangerous

 condition and/or the allegedly dangerous condition's existence. In Owens the Court reviewed a

 similar set of allegations wherein the Plaintiff alleged that the Defendant's fai1ure to sweep on a

 timely basis and to timely fiB out incident reports amounted to support for a claim for negJigent

 mode of operation. See id. The Court, in rejecting the Plaintiffs claim on this basis noted that,

 "although the plaintiffs alleged a negligent mode of operation, the evidence the plaintiffs

 produced to support such a theory was that [Defendant'S] employees had failed to timely fiU out

 inspection reports and sweep on a regular basis. This evidence amounts to no more than a

 general claim of negligence in the maintenance of the premises and does not support a more

 specific claim of negligent mode of operation in this case," Id.

        6.      Allegations sufficient to support a mode~of-operation theory must be specific to a

 business's choice of a particular mode of operation and not events surrounding the plaintiffs
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 accident. Thus, the basis for the negligent mode of operation theory is the claim that the specific

 mode of operation selected by the premises owner or operator resulted in the creation of a
                                                                                                       ,   ,
 dangerous or unsafe condition. See Markowitz      '11.   Helen Homes ofKendall Corp.. 826 So.2d 256

 (Fla. 2002). For example, See Etheredge   '11.   Walt Disney World Co., 999 So. 2d 669 (Fla. 5th

 DCA 2008) (wherein the Plaintiff alleged that the theme park operators' practice of encouraging

 guests to cross a street over a storm drain, that was not in and of itself a dangerous condition,

 constituted a negligent mode of operation that allegedly caused the Plaintiff injury when she

 stepped into the storm drain while crossing the street). Plaintiff fails to allege any specific

 business practice or method of operation to support the cause of action alleged in Count III of the

 Complaint.

         THEREFORE, DEFENDANT WAL-MART respectfully requests the entry of an Order

 dismissing any and an allegations of a "negJigent mode of operation" contained within Plaintiff's

 Amended Comp1aint.

                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

         Defendant hereby gives notice that it intends to introduce al1 applicable coHateral source

 payments to the Plaintiff for the purpose of reducing or eliminating the damages claimed by the

 Plaintiff herein.

                             SECOND AFFIRMATIVE DEFENSE

         The damages and injuries of Plaintiff, if any, were proximately caused by other persons

 or entities over whose activities this Defendant had no control. Therefore this Defendant is not

 liable to Plaintiff.
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                                    TIDRD AFFIRMATIVE DEFENSE

             Defendant is entitled to the protections ofF.S. §768.81, comparative fault, and asserts all

      rights, remedies and limitations to which it is entitled under said Statute.

                                   FOURm AFFIRMATIVE DEFENSE

             Defendant asserts its entitlement to a setoff for any sums paid by any other Defendants or

      any other joint tort-feasor as payment or settlement in this cause.

                                     'DoIH AFFIRMATIVE DEFENSE

             The Plaintiff's negligence was the sole proximate cause or a contributing legal cause of

      the incident and his injuries and damages, if any. and the Plaintiff is therefore precluded from

      recovery herein or her recovery should be diminished to the extent that Plaintiffs negligence

      contributed to the subject accident.

                                     SIXTH AFFIRMATIVE DEFENSE

             Defendants assert entitlement to the provisions and protections of F .S. §768.81 insofar as

      it may be determined that the negligence of non-parties to this action may be detennined to be

      the legal cause of injury to the Plaintiffs herein.

                                   SEVENTH AFFIRMATIVE DEFENSE

             Plaintiff knew of the existence of the danger complained of in the Complaint, realized

      and appreciated the possibility of the injury as a result of the danger, and having a reasonable

      opporturutyto avoid said danger, voluntarily exposed herself to the alleged danger.

                                    EIGHTH AFFIRMATIVE DEFENSE

              The danger complained of in the Complaint was an open and obvious condition which

      was readily apparent to the Plaintiff or any other person on the property and was known,

      foreseeable and readily detectible to the Plaintiff.
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                             NINTH AFFIRMATIVE DEFENSE

        Any alleged dangerous condition on Defendant's property did not exist for a sufficient

 length of time so that Defendant had either actual or constructive knowledge of the alleged

 dangerous condition.

                             TENTH AFFIRMATIVE DEFENSE

        Defendant regularly and adequately inspected the subject premises for any defects, perils,

 traps, or other dangerous conditions, and no such conditions were known or existed for a

 sufficient length of time so that Defendant would have either actual or constructive knowledge of

 the alleged dangerous condition.

                           ELEVENTH AFFIRMATIVE DEFENSE

        Defendants conducted regular, reasonable inspections of the premises for any potentially

 dangerous conditions that existed on the premises and did not discovery any potentially

 dangerous condition during their regular inspections, therefore the alleged dangerous condition

 did not exist for a sufficient length of time in order to put Defendants on actual or constructive

 notice of the alleged dangerous condition.

                            TWELYfB AFFIRMATIVE DEFENSE

        Defendant Wal-Mart is a foreign corporation with its principle place of business in

 Bentonville, Arkansas. Assuming the allegations contained in paragraph 2 of Plaintiff's

 Complaint are true, there is complete diversity among the Defendants for the purposes of

 jurisdiction. To the extent that it is alleged that the amount in controversy is greater than

 $75,000.00, proper jurisdiction and venue for this matter lies in the United States District Court

 for the Middle District of Florida, Tampa Division.
         Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 19 of 27 PageID 21

·   .,

                                       CERTnnCATE OF SERVICE
                  I HEREBY CERTIFY that a true copy of the foregoing has been furnished via U.S. Man

          to Joseph Bryant, Esq., 201 N Franklin Street, Seventh Floor, Tampa, FL 33602 on July 18,

          2011.




                                                   And~S.BoHn,ESqu~
                                                   Florida Bar No.: 0569097
                                                   SeJea N. Demirpolat, ESquire
                                                   Florida Bar No. 0043681
                                                   Beytin, Bolin, Mclaughlin & Willers. P.A.,
                                                   Post Office Box 1772
                                                   Tampa, Florida 33601-1772
                                                   Telephone: (813) 226-3000
                                                   Facsimile: (813) 226-3001
                                                   Counsel for Defendant, Wal-Mart
Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 20 of 27 PageID 22



              IN 1HE CIRCUIT COURT FOR THE THIRTEENTH JUDICIAL CIRCUIT
                      IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                CIRCUIT CIVIL DIVISION

  CHRISTINA BRAUN,

         Plaintiff,

  VS.                                                         CASE NO.: 11-007520

  WAL-MART STORES EAST, LP

         Defendant.


                DEFENDANT'S REQUEST FOR ADMISSIONS TO PLAINTIFF

         The Defendant, WAL-MART STORES EAST, LP, by and through its undersigned counsel,

  hereby requests that the Plaintiff, SUSAN KEENE, admit or deny the fonowing Request for

  Admissions within thirty (30) days from the date of service hereof, pursuant to Rule 1.370 of the

  Florida Rule of Civil Procedure:

         1.      Admit Plaintiff is a resident of Florida for an times material to the incident that

  makes up the basis for the Complaint and is presently a resident of Florida.

         2.      Admit that Plaintiff is alleging damages in excess of $75,000.00.
      Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 21 of 27 PageID 23
...
• j



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                                     CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true copy of the foregoing has been furnished via facsimile

        and regular U.S. Mail to Joseph Bryant, Esq., 201 N Franklin Street, Seventh Floor, Tampa, FL

        33602 on June 30, 2011.



                                                     ~fvr
                                                  ADd~S.BoHnt~q.~
                                                 Florida Bar No.: 0569097
                                                  Selen N. DemirpoJat, Esquire
                                                 Florida Bar No. 0043681
                                                 Beytin, Bolin. Mclaughlin & Willers, P.A.,
                                                 Post Office Box 1772
                                                 Tampa, Florida 33601-1772
                                                 Telephone: (813) 226-3000
                                                 Facsimile: (813) 226-3001
                                                 Counsel for Defendant, Wal-Mart
                                                                                                I
Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 22 of 27 PageID 24



              IN THE CIRCUIT COURT OF mE mIRTEENm JUDICIAL CIRCUIT
                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                   CNIL DNISION
                                                                                                t
                                                                                                I.




CHRISTINA L. BRAUN,

Plaintiff,
                                                  CASE NO: 11-007520
-vs-

WAL-MART STORES EAST, LP" a foreign
limited partnership,

Defendant


               PLAINTIFF'S RESPONSE TO REQUEST FOR ADMISSIONS

         Plaintiff, CHRISTINA L. BRAUN, by and through her undersigned attorney, responds to

the Request for Admissions of Defendant, WAL-MART STORES EAST, LP, served the 30th day

ofJune, 2011, as follows:

         1.     Admit.

         2.     Objection. Invades the province of the jury; work product.

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

U.S. Mail this ~ay of July, 2011 to: Andrew S. Bolin, Esquire, Beytin,. Bolin, McLaughlin

& Willers, P.A., One Tampa City Center 201 North Franklin Street, Suite 900, Tampa, FL

33602.



                                                o ph R. Bryant, Esquire
                                                 organ & Morgan, Tampa, P.A.
                                               One Tampa City Center
                                               201 N. Franklin Street, 7th Floor
                                               Tampa, FL 33602
                                               Tele: (813) 223-5505
                                               Fax: (813) 223-5402
                                               FloridaBar#: 561444
                                               Attorney for Plaintiff                           I
Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 23 of 27 PageID 25




              IN THE CIRCUIT COURT OF mE THIRTEENTH JUDICIAL CIRCUIT
                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                   CIVIL DIVISION

 CHRISTINA L. BRAUN,

 Plaintiff,
                                                 CASE NO.: 11-007520
 -vs-
                                                                                                 I
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 WAL-MART STORES EAST, LP, a foreign
 limited partnership,                                                                            II
 Defendant
 -------------------------,/
                           DENIAL OF AFFIRMATIVE DEFENSES
                                                                                                     I


          COMES NOW the Plaintiff, CHRlSTINA L. BRAUN, by and through her undersigned
                                                                                                 '!
 counsel and hereby responds to Defendant's, WAL-MART STORES EAST, LP, Answer to the

 Complaint and denies each and every Affinnative Defense.
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          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by       ,
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 U.S. Mail    thi~ay of July, 2011 to:    Andrew S. Bolin, Esquire, Beytin, Bolin, McLaughlin
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 & Willers, P.A., One Tampa City Center 201 North      F~2900, Tampa, 'FL                         !
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 33602.
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                                                                                                  .,
                                             Joseph R. Bryant, Esquire
                                             Morgan & Morgan, Tampa, P A.
                                                                                                     ·   ;
                                             One Tampa City Center                                   :1
                                             201 N. Franklin Street, 7th Floor                       "1



                                             Tampa, FL 33602                                             i
                                             Tele: (813) 223-5505                                        I
                                                                                                     .j
                                             Fax: (813) 223-5402                                         J
                                                                                                     ;1
                                             Florida Bar #: 561444
                                             Attorney for Plaintiff                                      I

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Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 24 of 27 PageID 26                   1.
                                                                                                 l




            IN TIlE CIRCUIT COURT FOR THE TIlIRTEENTH JUDICIAL CIRCUIT
                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                               CIRCUIT CIVIL DIVISION

  CHRISTINA BRAUN,

          Plaintiff,

  VS.                                                    CASE NO.: 11-007520

  WAL-MART STORES EAST, LP

       Defendant.
  ____________________          ~I




                                  NOTICE OF BEARING

          PLEASE TAKE NOTICE that the undersigned will call up a hearing on Plaintiff's

  Responses to Defendant's Request for Admissions before the Honorable James D. Arnold,

  Circuit Judge, in Chambers at the Hillsborough County Courthouse, 800 E. Twiggs Street, Room

  514, Tampa, FL 33602, on Thunday, July 21, 2011 at 9:00 Lm. {UMq.

  PLEASE BE GOVERNED ACCORDINGLY.

                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been furnished via U.S. Mail

  to Joseph Bryant, Esq., 201 N Franklin Street, Seventh Floor, Tampa, FL 33602 on July IS,

  2011.


                                            AD rew S. olin, Eaquire
                                            Florida Bar No.: 0569097
                                            Selea N. Demirpolat, Esquire
                                            FJorida Bar No. 0043681
                                            Beylin, Bolin, McLaughlin & Willers, P.A.•
                                            Post Office Box 1772
                                            Tampa, Florida 33601-1772
                                            Telephone: (813) 226-3000
                                            Facsimile: (813) 226-300]
                                            Counsel for Defendant, Wal-Mart
Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 25 of 27 PageID 27




             IN THE CIRCUIT COURT FOR THE THIRTEENTII JUDICIAL CIRCUIT
                     IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                               CIRCUIT CIVIL DIVISION

CHRISTINA BRAUN,

        Plaintiff,

VS.                                                           CASE NO.: 11-007520

WAL-MART STORES EAST. LP

     Defendant.
____________________~I

                                   MOTIONFOR~HE~G

        Defendant, WAL-MART STORES EAST, LP, by and through its undersigned counsel,

and pursuant to Fla.R.Civ.P. 1.530, respectfully moves this Court to reconsider its ruling on July

 21,20] 1 in light of controlling case law that was not heard and in support states the following:

        I,      Wal-Mart is a foreign corporation, which for the purposes of diversity jurisdiction

 under 28 U.S.C. 1332(c)(1) was at the time the above captioned action was filed in State Court a

 "resident" of Bentonville, Arkansas and remains a resident of Bentonville, Arkansas as of the

 date of this Notice of Removal.

        2.      Plaintiff alleges in her Complaint that she is a resident of Florida.

        3.       Wal-Mart is a foreign corporation whose state of incorporation is Arkansas and

 who maintains its principle place of business in Bentonville, Arkansas.

        4.       The parties do not dispute diversity of citizenship; the only issue was whether the

 amount in controversy requirement had been satisfied for purposes of removal to federal court.

        5.       On or about June 30, 2011, Defendant served the Plaintiff a Request for

 Admissions. A true and correct copy of Defendant's Request for Admissions, served under

 certificate of service dated June 30, 2011, is attached hereto as "Exhibit A",
Case 8:11-cv-01691-VMC-TBM Document 1-1 Filed 07/29/11 Page 26 of 27 PageID 28




        6.      Request for Admissions, Paragraph No.2 states: "Admit that Plaintiff is alleging

damages in excess of $75,000.00". See Exhibit A.

        7.      On or about July 8, 2011, Plaintiff served her Response to Defendant's Request

for Admissions, objecting to Paragraph No.2 on the basis that it invades the province of the jury

and is protected by work product privilege. A true and correct copy of Plaintiff s Response to

Defendant's Request for Admissions, served under certificate of service dated July 8, 20 II, is

attached hereto as "Exhibit B".

        8.      Defendant is entitled to discovery to determine the jurisdictional amount. See

Morock v. Chautauqua Airlines, Inc., 2007 WL 1725232 (M.D. Fla. 2007) (quoting Steele v.

Underwriters Adjusting Co.. Inc.. 649 F.supp. 1414, 1417 (M.D. Ala. 1986»("a period of

discovery which has its sole purpose the determination of the amount in controversy would

 clarify the jurisdictional question.").

         9.      In her Complaint, Plaintiff alleged damages in excess of $15,000.00.

         1O.     In cases where a Plaintiff has made an unspecified demand for damages, the

 removing Defendant must prove jurisdiction by a "preponderance of the evidence". McNutt v.

 General Motors Acceptance Corp. of Indiana, 298 U.S. 178, 189 (1936).

         11.     To meet the preponderance of the evidence burden, Defendant must prove the

 amount in controversy "more likely than not" exceeds $75,000.000. Hanna v. Miller, 163

 F.Supp.2d 1302, 1305 (D.N.M. 2001).

         12.     Because Plaintiffs ad damnum clause is indefinite, the Defendant is permitted to

 utilize request for admissions to make the record clear that the jurisdictional amount is present.

 Bonnell v. Seaboard Airline Railroad Company, 202 F. Supp. 53, 55 (M.D. Fla. 1962).
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         13.   While the purpose of a motion for re-hearipg is not to reargue that which was

initial argued before the Court, it should bring to the court's attention points of law that have

been       overlooked      in     the      original    decision.      Amador        v.     Walker,

 862 So.2d 729, 733 (Fla. 5th DCA 2003).


         WHEREFORE, the Defendant WAL-MART STORES EAST, LP, respectfully requests

 that this Court reconsider its opinion in light of control1ing case law not heard and grant any and

all other relief the Court deems just and proper.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been furnished via U.S. Mail

 to Joseph Bryant, Esq., 201 N Franklin Street, Seventh Floor, Tampa, FL 33602 on July02..5

 2011.


                                              An ~S.BoHn,Esqu~
                                              Florida Bar No.: 0569097
                                              Selen N. Demirpolat, Esq~
                                              Florida BarNo. 0043681
                                              Beytin, Bolin, McLaughlin & Willers, P.A.,
                                              Post Office Box 1772
                                              Tampa, Florida 33601-1772
                                              Telephone: (813) 226-3000
                                              Facsimile: (813) 226-3001
                                              Counsel for Defendant, Wal-Mart
